Case 6:16-cV-06746-EAW-.]WF Document 1 Filed 11/16/16 Page 1 of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

REBECCA SMITH,
Plaintiff,
v. Index NO.
PITTSFORD SCHOOL DISTRICT.
Defendant.

 

COMPLAINT AND DEMAND FOR JURY TRIAL
I. PRELIMINARY STATEMENT

l. This arises under Title-l of the Americans With Disabilities Act, 42 U.S.C. §12101, et.
seq. (“ADA”), for discrimination based on disability and retaliation

II. JURISDICTION AND VENUE

2. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343 and
42 U.S.C. §§ 2000e5.

3. Venue is properly laid Within the Western District of New York pursuant to 28 U.S.C.
§ 139J(b) in that the Plaintiff lives in the Western District ofNeW York, the Det`endant
is located in the Western District ofNew York, and a substantial part of the acts or
omissions giving rise to the claim occurred in the Western District of New Yorl<.

III. PARTIES
4. The Plaintift`, Ms. Rebecca D. Smith, is a female born in 1981.
5. The Plaintiff resides at ?591 Wetmore Road, Wayland, New Yorl< 14572.

6. The Defendant Pittsford School District is municipality organized and existing under
the laws of the State of New York.

7. That from August of 2006 through August 14, 2013, Plaintiff Was an employee of
Pittsford School District.

Case 6:16-cV-06746-EAW-.]WF Document 1 Filed 11/16/16 Page 2 of 4

8. Defendant Pittsford School District is an "employer" under Title 1 of the ADA as it is
engaged in an industry affecting commerce and has had fifteen (15) or more
employees for each working day in each of twenty (20) or more calendar weeks in the
current or preceding calendar year.

9. At all relevant times herein, the Defendant exercised control over the Plaintiff
10.At all relevant times herein, Plaintiff took direction the Defendant.

ll.At all relevant times herein Defendant and its' agents, made the decisions which led to
the violations of the Plaintiffs rights under Title l of the ADA

IV. PREREQUISITES TO CLAIMS UNDER TITLE I OF THE ADA

12.That in or about May 21, 2014, Plaintiff mailed a completed and signed intake
questionnaire form to the Equal Employment Opportunity Commission (“EEOC”)
together With a narrative summary she had prepared of the discrimination and
harassment she suffered while in the employ of the Defendants as is more fully
detailed in this complaint to the EEOC in Buffalo, New York.

13.0n July 8, 2014, EEOC mailed papers to the Plaintiff acknowledging said charge was
received and filed by the EEOC. A copy of said charge is annexed hereto as Exhibit
A.

14.0n or about January 27, 2016, the EEOC mailed a letter to the Plaintiff stating that
the case had been transferred to the Department of Justice. A copy of the
aforementioned letter is attached as Exhibit B.

lS.On or about August 18, 2016, the EEOC mailed Plaintiff a "Right to Sue" letter
advising her of the completion of the prerequisites to suit. A copy of the "Right to
Sue" letter is annexed hereto as Exhibit C.

V. FACTS

16. Plaintiff was employed with the Pittsford School District as a school bus driver and
cafeteria monitor from August 2006 until August 14, 2013 when Plaintiff was terminatedl

l7.During April of 2010, Plaintiff suffered a workplace injury to her right ankle and right
knee due to a slip and fall.

18. As a result, she was out of work until approximately June 2011.

19. On Or about June 2011, Plaintiff was cleared by her doctors to return to work and the
Defendant accepted her back upon demonstrating that she was able to pass the school
districts' fitness standard. At this time, per her doctor‘s orders, she wore an ankle brace as
needed but was able to fully Work once again.

Case 6:16-cV-06746-EAW-.]WF Document 1 Filed 11/16/16 Page 3 of 4

20. In January 2012, Plaintiff suffered another slip and fall at work. However, Plaintiff was
able to overcome the injury and it did not affect her ability to work until June of 20 l 2
when she started to experience neck and shoulder pain from the January workplace
accident.

21.Plaintiff was taken out of work in June 2012 by her doctors and had surgeries in February
2013 and April 2013 to address injuries to her shoulder and knee (these injuries were
from the first slip and fall in 2010). Plaintiff was cleared by her doctor to return to work
September 9, 2014 With no restrictions Plaintiff’s doctor, as done in the past, ordered that
she wear a knee brace as needed but that she was otherwise cleared to return to work.

22.Despite Plaintiff providing her doctor‘s note to her employer, Defendant sent Plaintiff a
letter dated July 29, 2013 stating that they were in receipt of Plaintiff`s doctor‘s note but
that she could not return to work as she had the restriction of wearing the knee brace.

23.Upon receipt of this letter, Plaintiff contacted her immediate supervisor, l\/lary Caldicott.
Ms. Caldicott told me Plaintiff she could not return to work as long as she had to wear the
knee brac_e. Plaintiff explained to her that she was cleared and that in the past she Wore an
ankle brace and that this was no different Ms. Caldicott told Plaintiff this was different
and that she would have to speak with Marcia L. Holmes.

24.Upon speaking with Ms. Holmes, Plaintiff was told that there was nothing they could do
for her. Plaintiff then received a letter dated August 14, 2014 from Ms. l-Iolmes stating
that she has been on a leave of absence since August 2012 and that Plaintiff had not
provided Defendant with any doctor's note since October 2012 stating that she was totally
disabled and unable to return to work. Moreover, since Plaintiff’s absence has been over
a year, Plaintiff was now terminated

25.Defendant refused to acknowledge Plaintiff s doctor‘s note stating she was able to return
to Work as well as failed to provide Plaintiff with a reasonable accommodation in
allowing her to work while wearing a knee brace.

26.By reason of the foregoing, Defendant has violated Plaintiff’s rights pursuant to Title lof
the ADA in that the Plaintiff Was discriminated against due to her disability.

27.That Plaintiff was subjected to discriminatory conduct by the Defendants that created an
offensive work environment on the basis of her disability

28.Defendant's employees were in positions to adversely affect the terms, conditions and
privileges of Plaintiff s employment

29.Despite the Plaintiff’ s complaints about being discriminated against due to her medical
condition, the Defendant's took insufficient corrective action, and condoned said
discriminationl

Case 6:16-cV-06746-EAW-.]WF Document 1 Filed 11/16/16 Page 4 of 4

30.That Defendant failed to provide any reasonable accommodations to the Plaintiff that
would allow her to perform herjob.

31.That despite Plaintiff’s medical condition not preventing her from performing the
requisite duties of herjob, Defendant terminated the Defendant based on her medical
condition

32.As a result of Defendant's actions, Plaintiff experienced loss of income, other monetary
loss, fear, anxiety, shame, embarrassment, emotional pain and suffering, and loss of
enjoyment of life.

WHEREFORE, Plaintiff respectfully requests that judgment be entered against

the Defendant for
(a) Actual damages;

(b) Compensatory damages, including but notlimited to

(c) Punitive damages;

(d) Costs, disbursements and reasonable attorney'sfees;

(e) For such other and further relief as may bejust and proper,

VI. DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a

trial by jury of all issues in this action.

Dated: November 16, 2016

 

Kenneth' ' . l-li ler, Esq.

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